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             EXHIBIT S
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                Transaction   Effective                             Check   Vendor      Principal     Interest      PMI                    Insurance     Reserve       Misc     Suspense     Late Charge    Principal
  Description                             Due Date    Amount                                                                 Tax Amount                                                                                    Parcel Number
                   Date         Date                               Number   Name        Amount        Amount       Amount                   Amount       Amount       Amount     Amount        Amount       Balance

LATE CHARGE
ASSESSED           7/6/2021                7/6/2021    $4,081.60        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00     $4,081.60   $7,843,946.10

                                                                         NOVA
MISC EXPENSE       7/1/2021               6/22/2021    $1,950.00 3852135 GROUP, GBC           $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10

INT ON ESCROW
CREDIT             7/1/2021                                $0.90        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.90     $0.00        $0.00         $0.00   $7,843,946.10

INT ON ESCROW
CREDIT             7/1/2021                                $2.70        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $2.70     $0.00        $0.00         $0.00   $7,843,946.10
                                                                          KAZMAREK
                                                                          MOWREY
MISC EXPENSE      6/25/2021               6/22/2021      $950.00        0 CLOUD               $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10

                                                                          CT
                                                                          CORPORATI
MISC EXPENSE      6/24/2021               6/17/2021      $366.36        0 ON SYSTEM           $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10
                                                                          MCDERMOT
                                                                          T, WILL &
MISC EXPENSE      6/21/2021               6/15/2021    $7,383.02        0 EMERY               $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10
                                                                          BILZIN
                                                                          SUMBERG
                                                                          BAENA PRICE
MISC EXPENSE      6/21/2021               6/15/2021      $788.90        0&                    $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10
LATE CHARGE
ASSESSED           6/7/2021                6/6/2021    $4,081.60        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00     $4,081.60   $7,843,946.10
                                                                         BILZIN
                                                                         SUMBERG
                                                                         BAENA PRICE
MISC EXPENSE       6/7/2021               5/20/2021      $222.40        0&                    $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10

INT ON ESCROW
CREDIT             6/1/2021                                $0.93        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.93     $0.00        $0.00         $0.00   $7,843,946.10

INT ON ESCROW
CREDIT             6/1/2021                                $2.79        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $2.79     $0.00        $0.00         $0.00   $7,843,946.10

                                                                          CT
                                                                          CORPORATI
MISC EXPENSE      5/10/2021                5/3/2021       $99.68        0 ON SYSTEM           $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10
LATE CHARGE
ASSESSED           5/6/2021                5/6/2021    $4,081.60        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00     $4,081.60   $7,843,946.10

INT ON ESCROW
CREDIT             5/1/2021                                $0.90        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.90     $0.00        $0.00         $0.00   $7,843,946.10

INT ON ESCROW
CREDIT             5/1/2021                                $2.70        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $2.70     $0.00        $0.00         $0.00   $7,843,946.10
                                                                          TS
                                                                          WORLDWIDE
MISC EXPENSE      4/30/2021               4/22/2021    $8,000.00        0 , LLC               $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10

                                                                          DEBENEDETT
                                                                          O ADVISORS,
MISC EXPENSE      4/30/2021               4/22/2021    $1,150.00        0 LLC                 $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00         $0.00   $7,843,946.10
LATE CHARGE
ASSESSED           4/6/2021                4/6/2021    $4,081.60        0                     $0.00        $0.00     $0.00         $0.00         $0.00        $0.00     $0.00        $0.00     $4,081.60   $7,843,946.10
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INT ON ESCROW
CREDIT           4/1/2021                             $0.93    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.93    $0.00   $0.00      $0.00    $7,843,946.10

INT ON ESCROW
CREDIT           4/1/2021                             $2.79    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.79    $0.00   $0.00      $0.00    $7,843,946.10
                                                                 STRATEGIC
                                                                 ASSET
                                                                 SERVICES
MISC EXPENSE    3/31/2021             3/30/2021     $165.00    0 LLC                $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00      $0.00    $7,843,946.10
LATE CHARGE
ASSESSED         3/8/2021              3/6/2021    $4,081.60   0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00   $4,081.60   $7,843,946.10

INT ON ESCROW
CREDIT           3/1/2021                             $0.84    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.84    $0.00   $0.00      $0.00    $7,843,946.10

INT ON ESCROW
CREDIT           3/1/2021                             $2.52    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.52    $0.00   $0.00      $0.00    $7,843,946.10
LATE CHARGE
ASSESSED         2/8/2021              2/6/2021    $4,081.60   0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00   $4,081.60   $7,843,946.10

INT ON ESCROW
CREDIT           2/1/2021                             $0.93    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.93    $0.00   $0.00      $0.00    $7,843,946.10

INT ON ESCROW
CREDIT           2/1/2021                             $2.79    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.79    $0.00   $0.00      $0.00    $7,843,946.10

R.E. TAX                                                         TX, CLEAR
DISBURSEMENT    1/12/2021             1/31/2021   $81,523.07   0 CREEK ISD          $0.00        $0.00    $0.00   ($81,523.07)       $0.00       $0.00    $0.00   $0.00      $0.00    $7,843,946.10   1297070010003

R.E. TAX                                                         TX, HARRIS
DISBURSEMENT    1/11/2021             1/31/2021   $62,967.27   0 COUNTY             $0.00        $0.00    $0.00   ($62,967.27)       $0.00       $0.00    $0.00   $0.00      $0.00    $7,843,946.10   1297070010003
LATE CHARGE
ASSESSED         1/6/2021              1/6/2021    $4,081.60   0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00   $4,081.60   $7,843,946.10

INT ON ESCROW
CREDIT           1/1/2021                             $0.93    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.93    $0.00   $0.00      $0.00    $7,843,946.10

INT ON ESCROW
CREDIT           1/1/2021                             $2.79    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.79    $0.00   $0.00      $0.00    $7,843,946.10
LATE CHARGE
ASSESSED        12/7/2020             12/6/2020    $4,081.60   0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00   $4,081.60   $7,843,946.10

PAYMENT REC'D   12/4/2020   12/3/2020 11/6/2020   $81,631.96   0              ($11,004.68)   $33,819.93   $0.00    $16,569.70    $11,500.13   $8,737.52   $0.00   $0.00      $0.00    $7,843,946.10

INT ON ESCROW
CREDIT          12/1/2020                             $0.90    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.90    $0.00   $0.00      $0.00    $7,854,950.78

INT ON ESCROW
CREDIT          12/1/2020                             $2.70    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.70    $0.00   $0.00      $0.00    $7,854,950.78
LATE CHARGE
ASSESSED        11/6/2020             11/6/2020    $4,081.60   0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.00    $0.00   $0.00   $4,081.60   $7,854,950.78

PAYMENT REC'D   11/6/2020   11/5/2020 10/6/2020   $81,631.96   0              ($12,045.46)   $32,779.15   $0.00    $16,569.70    $11,500.13   $8,737.52   $0.00   $0.00      $0.00    $7,854,950.78

INT ON ESCROW
CREDIT          11/1/2020                             $0.93    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $0.93    $0.00   $0.00      $0.00    $7,866,996.24

INT ON ESCROW
CREDIT          11/1/2020                             $2.74    0                    $0.00        $0.00    $0.00         $0.00        $0.00       $2.74    $0.00   $0.00      $0.00    $7,866,996.24
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                                                                          INDIE-PRO
INS                                                                       INSURANCE
DISBURSEMENT    10/28/2020   10/27/2020               $150,095.66 3836144 AGENCY INC         $0.00        $0.00    $0.00       $0.00    ($150,095.66)      $0.00    $0.00         $0.00         $0.00    $7,866,996.24
LATE CHARGE
ASSESSED         10/6/2020                10/6/2020     $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00     $4,081.60    $7,866,996.24
SUSPENSE ESC
DEBIT            10/6/2020                             $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00   ($81,631.96)        $0.00    $7,866,996.24

PAYMENT REC'D    10/6/2020    9/30/2020    9/6/2020    $81,631.96       0              ($10,905.86)   $33,918.75   $0.00   $16,569.70     $11,500.13    $8,737.52   $0.00         $0.00         $0.00    $7,866,996.24
SUSPENSE
PAYMENT          10/2/2020    9/30/2020                $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00    $81,631.96         $0.00    $7,877,902.10

INT ON ESCROW
CREDIT           10/1/2020                                  $0.90       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.90    $0.00         $0.00         $0.00    $7,877,902.10

INT ON ESCROW
CREDIT           10/1/2020                                  $2.40       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $2.40    $0.00         $0.00         $0.00    $7,877,902.10
LATE CHARGE
WAIVED           9/17/2020                 8/6/2020     $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00    ($4,081.60)   $7,877,902.10
SUSPENSE ESC
DEBIT            9/17/2020                             $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00   ($81,631.96)        $0.00    $7,877,902.10

PAYMENT REC'D    9/17/2020     8/6/2020    8/6/2020    $81,631.96       0              ($10,859.11)   $33,965.50   $0.00   $16,569.70     $11,500.13    $8,737.52   $0.00         $0.00         $0.00    $7,877,902.10
SUSPENSE
PAYMENT          9/17/2020    9/16/2020                 $1,000.00       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00     $1,000.00         $0.00    $7,888,761.21
SUSPENSE
PAYMENT          9/17/2020    9/16/2020                $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00    $81,631.96         $0.00    $7,888,761.21
LATE CHARGE
ASSESSED          9/8/2020                 9/6/2020     $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00     $4,081.60    $7,888,761.21

INT ON ESCROW
CREDIT            9/1/2020                                  $0.93       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.93    $0.00         $0.00         $0.00    $7,888,761.21

INT ON ESCROW
CREDIT            9/1/2020                                  $2.48       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $2.48    $0.00         $0.00         $0.00    $7,888,761.21
LATE CHARGE
ASSESSED          8/6/2020                 8/6/2020     $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00     $4,081.60    $7,888,761.21
SUSPENSE ESC
DEBIT             8/5/2020                              $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00    ($4,081.60)        $0.00    $7,888,761.21
LATE CHARGE
PAYMENT           8/5/2020                              $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00    ($4,081.60)   $7,888,761.21
SUSPENSE ESC
DEBIT             8/5/2020                              $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00    ($4,081.60)        $0.00    $7,888,761.21
LATE CHARGE
PAYMENT           8/5/2020                              $4,081.60       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00         $0.00    ($4,081.60)   $7,888,761.21
SUSPENSE ESC
DEBIT             8/5/2020                             $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00   ($81,631.96)        $0.00    $7,888,761.21

PAYMENT REC'D     8/5/2020     8/5/2020    7/6/2020    $81,631.96       0              ($11,905.17)   $32,919.44   $0.00   $16,569.70     $11,500.13    $8,737.52   $0.00         $0.00         $0.00    $7,888,761.21
SUSPENSE ESC
DEBIT             8/4/2020                             $81,631.96       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00   ($81,631.96)        $0.00    $7,900,666.38

PAYMENT REC'D     8/4/2020     8/3/2020    6/6/2020    $81,631.96       0              ($10,761.52)   $34,063.09   $0.00   $16,569.70     $11,500.13    $8,737.52   $0.00         $0.00         $0.00    $7,900,666.38
SUSPENSE
PAYMENT           8/4/2020     8/3/2020               $166,008.59       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.00    $0.00   $166,008.59         $0.00    $7,911,427.90

INT ON ESCROW
CREDIT            8/1/2020                                  $0.93       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $0.93    $0.00         $0.00         $0.00    $7,911,427.90

INT ON ESCROW
CREDIT            8/1/2020                                  $2.43       0                    $0.00        $0.00    $0.00       $0.00           $0.00       $2.43    $0.00         $0.00         $0.00    $7,911,427.90
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LATE CHARGE
WAIVED          7/15/2020               5/6/2020    $4,476.71      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00    ($4,476.71)   $7,911,427.90
LATE CHARGE
ASSESSED         7/6/2020               7/6/2020    $4,081.60      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00     $4,081.60    $7,911,427.90
SUSPENSE ESC
DEBIT            7/6/2020                          $89,534.22      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00   ($89,534.22)        $0.00    $7,911,427.90

PAYMENT REC'D    7/6/2020    7/6/2020   5/6/2020   $89,534.22      0    ($11,811.11)   $33,013.50   $0.00    $16,569.70    $11,500.13   $16,639.78   $0.00         $0.00         $0.00    $7,911,427.90
SUSPENSE
PAYMENT          7/6/2020    7/6/2020              $40,000.00      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00    $40,000.00         $0.00    $7,923,239.01

INT ON ESCROW
CREDIT           7/1/2020                              $0.90       0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.90    $0.00         $0.00         $0.00    $7,923,239.01

INT ON ESCROW
CREDIT           7/1/2020                              $2.10       0          $0.00        $0.00    $0.00         $0.00        $0.00        $2.10    $0.00         $0.00         $0.00    $7,923,239.01
LATE CHARGE
WAIVED          6/17/2020               4/6/2020    $4,752.36      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00    ($4,752.36)   $7,923,239.01
SUSPENSE
PAYMENT         6/16/2020   6/15/2020              $50,000.00      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00    $50,000.00         $0.00    $7,923,239.01
LATE CHARGE
ASSESSED         6/8/2020               6/6/2020    $4,081.60      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00     $4,081.60    $7,923,239.01
SUSPENSE ESC
DEBIT            6/5/2020                          $95,047.25      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00   ($95,047.25)        $0.00    $7,923,239.01

PAYMENT REC'D    6/5/2020    6/5/2020   4/6/2020   $95,047.25      0    ($10,664.75)   $34,159.86   $0.00    $20,408.09    $13,174.77   $16,639.78   $0.00         $0.00         $0.00    $7,923,239.01
SUSPENSE
PAYMENT          6/5/2020    6/5/2020              $50,000.00      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00    $50,000.00         $0.00    $7,933,903.76
SUSPENSE
PAYMENT          6/4/2020    6/4/2020              $50,000.00      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00    $50,000.00         $0.00    $7,933,903.76

INT ON ESCROW
CREDIT           6/1/2020                              $0.93       0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.93    $0.00         $0.00         $0.00    $7,933,903.76

INT ON ESCROW
CREDIT           6/1/2020                              $2.17       0          $0.00        $0.00    $0.00         $0.00        $0.00        $2.17    $0.00         $0.00         $0.00    $7,933,903.76
LATE CHARGE
ASSESSED         5/6/2020               5/6/2020    $4,476.71      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00     $4,476.71    $7,933,903.76

INT ON ESCROW
CREDIT           5/1/2020                              $0.90       0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.90    $0.00         $0.00         $0.00    $7,933,903.76

INT ON ESCROW
CREDIT           5/1/2020                              $2.10       0          $0.00        $0.00    $0.00         $0.00        $0.00        $2.10    $0.00         $0.00         $0.00    $7,933,903.76

R.E. TAX
DISBURSEMENT    4/22/2020   4/22/2020              $70,882.79 3821077         $0.00        $0.00    $0.00   ($70,882.79)       $0.00        $0.00    $0.00         $0.00         $0.00    $7,933,903.76
LATE CHARGE
ASSESSED         4/6/2020               4/6/2020    $4,752.36      0          $0.00        $0.00    $0.00         $0.00        $0.00        $0.00    $0.00         $0.00     $4,752.36    $7,933,903.76

INT ON ESCROW
CREDIT           4/1/2020                              $2.47       0          $0.00        $0.00    $0.00         $0.00        $0.00        $2.47    $0.00         $0.00         $0.00    $7,933,903.76

INT ON ESCROW
CREDIT           4/1/2020                              $5.01       0          $0.00        $0.00    $0.00         $0.00        $0.00        $5.01    $0.00         $0.00         $0.00    $7,933,903.76

PAYMENT REC'D    3/2/2020    3/2/2020   3/6/2020   $95,047.25      0    ($12,816.98)   $32,007.63   $0.00    $20,408.09    $13,174.77   $16,639.78   $0.00         $0.00         $0.00    $7,933,903.76

INT ON ESCROW
CREDIT           3/1/2020                              $2.90       0          $0.00        $0.00    $0.00         $0.00        $0.00        $2.90    $0.00         $0.00         $0.00    $7,946,720.74

INT ON ESCROW
CREDIT           3/1/2020                              $5.20       0          $0.00        $0.00    $0.00         $0.00        $0.00        $5.20    $0.00         $0.00         $0.00    $7,946,720.74
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PAYMENT REC'D     2/3/2020     2/3/2020    2/6/2020    $95,047.25       0              ($10,564.08)   $34,260.53   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $7,946,720.74

INT ON ESCROW
CREDIT            2/1/2020                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $7,957,284.82

INT ON ESCROW
CREDIT            2/1/2020                                  $5.26       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $5.26    $0.00   $0.00   $0.00   $7,957,284.82

R.E. TAX                                                                  TX, CLEAR
DISBURSEMENT      1/7/2020                1/31/2020   $108,389.86       0 CREEK ISD          $0.00        $0.00    $0.00   ($108,389.86)          $0.00        $0.00    $0.00   $0.00   $0.00   $7,957,284.82   1297070010003

R.E. TAX                                                                  TX, HARRIS
DISBURSEMENT      1/6/2020                1/31/2020    $80,977.98       0 COUNTY             $0.00        $0.00    $0.00    ($80,977.98)          $0.00        $0.00    $0.00   $0.00   $0.00   $7,957,284.82   1297070010003

PAYMENT REC'D     1/2/2020     1/2/2020    1/6/2020    $95,047.25       0              ($10,518.79)   $34,305.82   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $7,957,284.82

INT ON ESCROW
CREDIT            1/1/2020                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $7,967,803.61

INT ON ESCROW
CREDIT            1/1/2020                                  $4.94       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $4.94    $0.00   $0.00   $0.00   $7,967,803.61

PAYMENT REC'D    12/2/2019    12/2/2019 12/6/2019      $95,047.25       0              ($11,577.19)   $33,247.42   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $7,967,803.61

INT ON ESCROW
CREDIT           12/1/2019                                  $3.00       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.00    $0.00   $0.00   $0.00   $7,979,380.80

INT ON ESCROW
CREDIT           12/1/2019                                  $4.20       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $4.20    $0.00   $0.00   $0.00   $7,979,380.80

                                                                          INDIE-PRO
INS                                                                       INSURANCE
DISBURSEMENT    11/21/2019   11/21/2019               $131,429.90 3805367 AGENCY INC         $0.00        $0.00    $0.00          $0.00    ($131,429.90)       $0.00    $0.00   $0.00   $0.00   $7,979,380.80

PAYMENT REC'D    11/1/2019    11/1/2019 11/6/2019      $95,047.25       0              ($10,424.06)   $34,400.55   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $7,979,380.80

INT ON ESCROW
CREDIT           11/1/2019                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $7,989,804.86

INT ON ESCROW
CREDIT           11/1/2019                                  $4.03       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $4.03    $0.00   $0.00   $0.00   $7,989,804.86

PAYMENT REC'D    10/1/2019    10/1/2019 10/6/2019      $95,047.25       0              ($11,485.90)   $33,338.71   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $7,989,804.86

INT ON ESCROW
CREDIT           10/1/2019                                  $3.00       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.00    $0.00   $0.00   $0.00   $8,001,290.76

INT ON ESCROW
CREDIT           10/1/2019                                  $3.56       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.56    $0.00   $0.00   $0.00   $8,001,290.76

PAYMENT REC'D     9/3/2019     9/3/2019    9/6/2019    $95,047.25       0              ($10,330.13)   $34,494.48   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $8,001,290.76

INT ON ESCROW
CREDIT            9/1/2019                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $8,011,620.89

INT ON ESCROW
CREDIT            9/1/2019                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $8,011,620.89

PAYMENT REC'D     8/1/2019     8/1/2019    8/6/2019    $95,047.25       0              ($10,285.84)   $34,538.77   $0.00     $20,408.09      $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $8,011,620.89

INT ON ESCROW
CREDIT            8/1/2019                                  $3.10       0                    $0.00        $0.00    $0.00          $0.00           $0.00        $3.10    $0.00   $0.00   $0.00   $8,021,906.73
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INT ON ESCROW
CREDIT           8/1/2019                                $2.79       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $2.79    $0.00   $0.00   $0.00   $8,021,906.73

PAYMENT REC'D    7/1/2019   7/1/2019    7/6/2019    $95,047.25       0              ($11,352.70)   $33,471.91   $0.00    $20,408.09    $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $8,021,906.73

INT ON ESCROW
CREDIT           7/1/2019                                $3.00       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $3.00    $0.00   $0.00   $0.00   $8,033,259.43

INT ON ESCROW
CREDIT           7/1/2019                                $2.08       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $2.08    $0.00   $0.00   $0.00   $8,033,259.43

PAYMENT REC'D    6/3/2019   6/3/2019    6/6/2019   $115,751.59       0              ($10,193.08)   $34,631.53   $0.00    $41,112.43    $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $8,033,259.43

INT ON ESCROW
CREDIT           6/1/2019                                $3.10       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $3.10    $0.00   $0.00   $0.00   $8,043,452.51

INT ON ESCROW
CREDIT           6/1/2019                                $1.86       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $1.86    $0.00   $0.00   $0.00   $8,043,452.51

PAYMENT REC'D    5/1/2019   5/1/2019    5/6/2019   $115,751.59       0              ($11,263.29)   $33,561.32   $0.00    $41,112.43    $13,174.77    $16,639.78   $0.00   $0.00   $0.00   $8,043,452.51

INT ON ESCROW
CREDIT           5/1/2019                                $3.00       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $3.00    $0.00   $0.00   $0.00   $8,054,715.80

INT ON ESCROW
CREDIT           5/1/2019                                $1.50       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $1.50    $0.00   $0.00   $0.00   $8,054,715.80

PAYMENT REC'D    4/1/2019   4/1/2019    4/6/2019   $112,869.46       0              ($10,101.09)   $34,723.52   $0.00    $41,112.43    $13,174.77    $13,757.65   $0.00   $0.00   $0.00   $8,054,715.80

INT ON ESCROW
CREDIT           4/1/2019                                $3.10       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $3.10    $0.00   $0.00   $0.00   $8,064,816.89

INT ON ESCROW
CREDIT           4/1/2019                                $0.93       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $0.93    $0.00   $0.00   $0.00   $8,064,816.89

PAYMENT REC'D    3/1/2019   3/1/2019    3/6/2019    $88,038.38       0              ($13,409.29)   $31,415.32   $0.00    $15,256.67    $14,199.45    $13,757.65   $0.00   $0.00   $0.00   $8,064,816.89

INT ON ESCROW
CREDIT           3/1/2019                                $2.80       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $2.80    $0.00   $0.00   $0.00   $8,078,226.18

INT ON ESCROW
CREDIT           3/1/2019                                $0.56       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $0.56    $0.00   $0.00   $0.00   $8,078,226.18

                                                                       INDIE-PRO
INS                                                                    INSURANCE
DISBURSEMENT     2/6/2019   2/6/2019                 $3,856.65 3772517 AGENCY INC         $0.00        $0.00    $0.00         $0.00    ($3,856.65)       $0.00    $0.00   $0.00   $0.00   $8,078,226.18

PAYMENT REC'D    2/1/2019   2/1/2019    2/6/2019    $88,038.38       0              ($10,000.30)   $34,824.31   $0.00    $15,256.67    $14,199.45    $13,757.65   $0.00   $0.00   $0.00   $8,078,226.18

INT ON ESCROW
CREDIT           2/1/2019                                $3.10       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $3.10    $0.00   $0.00   $0.00   $8,088,226.48

INT ON ESCROW
CREDIT           2/1/2019                                $0.30       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $0.30    $0.00   $0.00   $0.00   $8,088,226.48

R.E. TAX                                                               TX, HARRIS
DISBURSEMENT    1/16/2019              1/31/2019    $96,216.98       0 COUNTY             $0.00        $0.00    $0.00   ($96,216.98)        $0.00        $0.00    $0.00   $0.00   $0.00   $8,088,226.48   1297070010003

PAYMENT REC'D    1/2/2019   1/2/2019    1/6/2019    $88,038.38       0               ($9,957.43)   $34,867.18   $0.00    $15,256.67    $14,199.45    $13,757.65   $0.00   $0.00   $0.00   $8,088,226.48

INT ON ESCROW
CREDIT           1/1/2019                                $5.38       0                    $0.00        $0.00    $0.00         $0.00         $0.00        $5.38    $0.00   $0.00   $0.00   $8,098,183.91
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INT ON ESCROW
CREDIT            1/1/2019                                  $3.78       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $3.78    $0.00   $0.00   $0.00   $8,098,183.91

R.E. TAX                                                                  TX, CLEAR
DISBURSEMENT    12/27/2018                1/31/2019   $137,018.00       0 CREEK ISD          $0.00        $0.00    $0.00   ($137,018.00)          $0.00           $0.00    $0.00   $0.00   $0.00   $8,098,183.91   1297070010003

RESERVE
DISBURSEMENT    12/20/2018   12/20/2018               $139,680.00 3767047                    $0.00        $0.00    $0.00          $0.00           $0.00    ($139,680.00)   $0.00   $0.00   $0.00   $8,098,183.91

RESERVE
DISBURSEMENT    12/20/2018   12/20/2018               $237,673.58 3767046                    $0.00        $0.00    $0.00          $0.00           $0.00    ($237,673.58)   $0.00   $0.00   $0.00   $8,098,183.91

PAYMENT REC'D    12/3/2018    12/3/2018 12/6/2018      $88,038.38       0              ($11,036.19)   $33,788.42   $0.00     $15,256.67      $14,199.45      $13,757.65    $0.00   $0.00   $0.00   $8,098,183.91

INT ON ESCROW
CREDIT           12/1/2018                                  $6.60       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $6.60    $0.00   $0.00   $0.00   $8,109,220.10

INT ON ESCROW
CREDIT           12/1/2018                                  $5.70       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $5.70    $0.00   $0.00   $0.00   $8,109,220.10

PAYMENT REC'D    11/1/2018    11/1/2018 11/6/2018      $88,038.38       0               ($9,867.43)   $34,957.18   $0.00     $15,256.67      $14,199.45      $13,757.65    $0.00   $0.00   $0.00   $8,109,220.10

INT ON ESCROW
CREDIT           11/1/2018                                  $6.82       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $6.82    $0.00   $0.00   $0.00   $8,119,087.53

INT ON ESCROW
CREDIT           11/1/2018                                  $5.82       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $5.82    $0.00   $0.00   $0.00   $8,119,087.53

                                                                          INDIE-PRO
INS                                                                       INSURANCE
DISBURSEMENT    10/31/2018   10/31/2018               $146,712.00 3760952 AGENCY INC         $0.00        $0.00    $0.00          $0.00    ($146,712.00)          $0.00    $0.00   $0.00   $0.00   $8,119,087.53

RESERVE
DISBURSEMENT     10/9/2018    10/9/2018                $37,350.84 3757973                    $0.00        $0.00    $0.00          $0.00           $0.00     ($37,350.84)   $0.00   $0.00   $0.00   $8,119,087.53

PAYMENT REC'D    10/1/2018    10/1/2018 10/6/2018      $88,038.38       0              ($10,949.46)   $33,875.15   $0.00     $15,256.67      $14,199.45      $13,757.65    $0.00   $0.00   $0.00   $8,119,087.53

INT ON ESCROW
CREDIT           10/1/2018                                  $6.60       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $6.60    $0.00   $0.00   $0.00   $8,130,036.99

INT ON ESCROW
CREDIT           10/1/2018                                  $5.93       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $5.93    $0.00   $0.00   $0.00   $8,130,036.99

RESERVE
DISBURSEMENT     9/27/2018    9/27/2018                $10,650.00 3756803                    $0.00        $0.00    $0.00          $0.00           $0.00     ($10,650.00)   $0.00   $0.00   $0.00   $8,130,036.99

PAYMENT REC'D     9/4/2018     9/4/2018    9/6/2018    $88,038.38       0               ($9,778.18)   $35,046.43   $0.00     $15,256.67      $14,199.45      $13,757.65    $0.00   $0.00   $0.00   $8,130,036.99

INT ON ESCROW
CREDIT            9/1/2018                                  $7.11       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $7.11    $0.00   $0.00   $0.00   $8,139,815.17

INT ON ESCROW
CREDIT            9/1/2018                                  $6.05       0                    $0.00        $0.00    $0.00          $0.00           $0.00           $6.05    $0.00   $0.00   $0.00   $8,139,815.17

RESERVE
DISBURSEMENT     8/30/2018    8/29/2018                $20,320.00 3753527                    $0.00        $0.00    $0.00          $0.00           $0.00     ($20,320.00)   $0.00   $0.00   $0.00   $8,139,815.17

RESERVE
DISBURSEMENT     8/17/2018    8/17/2018                $14,890.65 3752007                    $0.00        $0.00    $0.00          $0.00           $0.00     ($14,890.65)   $0.00   $0.00   $0.00   $8,139,815.17

PAYMENT REC'D     8/1/2018     8/1/2018    8/6/2018    $88,038.38       0               ($9,736.26)   $35,088.35   $0.00     $15,256.67      $14,199.45      $13,757.65    $0.00   $0.00   $0.00   $8,139,815.17
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INT ON ESCROW
CREDIT           8/1/2018                                 $7.13      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $7.13    $0.00   $0.00   $0.00   $8,149,551.43

INT ON ESCROW
CREDIT           8/1/2018                                 $5.88      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $5.88    $0.00   $0.00   $0.00   $8,149,551.43

PAYMENT REC'D    7/2/2018    7/2/2018    7/6/2018    $88,038.38      0             ($10,823.05)   $34,001.56   $0.00     $15,256.67    $14,199.45    $13,757.65    $0.00   $0.00   $0.00   $8,149,551.43

INT ON ESCROW
CREDIT           7/1/2018                                 $6.90      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $6.90    $0.00   $0.00   $0.00   $8,160,374.48

INT ON ESCROW
CREDIT           7/1/2018                                 $5.34      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $5.34    $0.00   $0.00   $0.00   $8,160,374.48
ESCROW 3 DISB
REVERSAL         6/7/2018   2/21/2018                $14,890.65 3728045                  $0.00        $0.00    $0.00          $0.00        $0.00     $14,890.65    $0.00   $0.00   $0.00   $8,160,374.48

PAYMENT REC'D    6/1/2018    6/1/2018    6/6/2018   $116,719.46      0              ($9,648.12)   $35,176.49   $0.00     $15,256.67    $42,880.53    $13,757.65    $0.00   $0.00   $0.00   $8,160,374.48

INT ON ESCROW
CREDIT           6/1/2018                                 $7.13      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $7.13    $0.00   $0.00   $0.00   $8,170,022.60

INT ON ESCROW
CREDIT           6/1/2018                                 $4.96      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $4.96    $0.00   $0.00   $0.00   $8,170,022.60

PAYMENT REC'D    5/1/2018    5/1/2018    5/6/2018   $116,719.46      0             ($10,738.11)   $34,086.50   $0.00     $15,256.67    $42,880.53    $13,757.65    $0.00   $0.00   $0.00   $8,170,022.60

INT ON ESCROW
CREDIT           5/1/2018                                 $6.90      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $6.90    $0.00   $0.00   $0.00   $8,180,760.71

INT ON ESCROW
CREDIT           5/1/2018                                 $4.48      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $4.48    $0.00   $0.00   $0.00   $8,180,760.71

PAYMENT REC'D    4/2/2018    4/2/2018    4/6/2018   $116,719.46      0              ($9,560.73)   $35,263.88   $0.00     $15,256.67    $42,880.53    $13,757.65    $0.00   $0.00   $0.00   $8,180,760.71

INT ON ESCROW
CREDIT           4/1/2018                                 $7.13      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $7.13    $0.00   $0.00   $0.00   $8,190,321.44

INT ON ESCROW
CREDIT           4/1/2018                                 $4.03      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $4.03    $0.00   $0.00   $0.00   $8,190,321.44

PAYMENT REC'D    3/1/2018    3/1/2018    3/6/2018    $79,201.76      0             ($12,923.10)   $31,901.51   $0.00     $14,416.67     $8,918.94    $11,041.54    $0.00   $0.00   $0.00   $8,190,321.44

INT ON ESCROW
CREDIT           3/1/2018                                 $6.44      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $6.44    $0.00   $0.00   $0.00   $8,203,244.54

INT ON ESCROW
CREDIT           3/1/2018                                 $3.84      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $3.84    $0.00   $0.00   $0.00   $8,203,244.54

RESERVE
DISBURSEMENT    2/21/2018   2/21/2018                $14,890.65 3728045                  $0.00        $0.00    $0.00          $0.00        $0.00    ($14,890.65)   $0.00   $0.00   $0.00   $8,203,244.54

PAYMENT REC'D    2/1/2018    2/1/2018    2/6/2018    $79,201.76      0              ($9,464.34)   $35,360.27   $0.00     $14,416.67     $8,918.94    $11,041.54    $0.00   $0.00   $0.00   $8,203,244.54

INT ON ESCROW
CREDIT           2/1/2018                                 $7.13      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $7.13    $0.00   $0.00   $0.00   $8,212,708.88

INT ON ESCROW
CREDIT           2/1/2018                                 $4.02      0                   $0.00        $0.00    $0.00          $0.00        $0.00          $4.02    $0.00   $0.00   $0.00   $8,212,708.88

R.E. TAX                                                               TX, CLEAR
DISBURSEMENT     1/9/2018               1/31/2018   $103,768.01      0 CREEK ISD         $0.00        $0.00    $0.00   ($103,768.01)       $0.00          $0.00    $0.00   $0.00   $0.00   $8,212,708.88   1297070010003
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R.E. TAX                                                                  TX, HARRIS
DISBURSEMENT      1/9/2018                1/31/2018    $70,593.75       0 COUNTY             $0.00        $0.00    $0.00   ($70,593.75)          $0.00        $0.00    $0.00   $0.00   $0.00   $8,212,708.88   1297070010003

PAYMENT REC'D     1/2/2018     1/2/2018    1/6/2018    $79,201.76       0               ($9,423.76)   $35,400.85   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,212,708.88

INT ON ESCROW
CREDIT            1/1/2018                                 $7.13        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $7.13    $0.00   $0.00   $0.00   $8,222,132.64

INT ON ESCROW
CREDIT            1/1/2018                                 $3.72        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $3.72    $0.00   $0.00   $0.00   $8,222,132.64

PAYMENT REC'D    12/1/2017    12/1/2017 12/6/2017      $79,201.76       0              ($10,521.88)   $34,302.73   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,222,132.64

INT ON ESCROW
CREDIT           12/1/2017                                 $6.90        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $6.90    $0.00   $0.00   $0.00   $8,232,654.52

INT ON ESCROW
CREDIT           12/1/2017                                 $3.30        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $3.30    $0.00   $0.00   $0.00   $8,232,654.52

                                                                          INDIE-PRO
INS                                                                       INSURANCE
DISBURSEMENT    11/21/2017   11/21/2017                $55,252.10 3715818 AGENCY INC         $0.00        $0.00    $0.00         $0.00     ($55,252.10)       $0.00    $0.00   $0.00   $0.00   $8,232,654.52

                                                                          INDIE-PRO
INS                                                                       INSURANCE
DISBURSEMENT     11/7/2017    11/7/2017               $107,027.25 3713804 AGENCY INC         $0.00        $0.00    $0.00         $0.00    ($107,027.25)       $0.00    $0.00   $0.00   $0.00   $8,232,654.52

PAYMENT REC'D    11/1/2017    11/1/2017 11/6/2017      $79,201.76       0               ($9,338.25)   $35,486.36   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,232,654.52

INT ON ESCROW
CREDIT           11/1/2017                                 $7.13        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $7.13    $0.00   $0.00   $0.00   $8,241,992.77

INT ON ESCROW
CREDIT           11/1/2017                                 $3.09        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $3.09    $0.00   $0.00   $0.00   $8,241,992.77

PAYMENT REC'D    10/2/2017    10/2/2017 10/6/2017      $79,201.76       0              ($10,439.48)   $34,385.13   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,241,992.77

INT ON ESCROW
CREDIT           10/1/2017                                 $6.90        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $6.90    $0.00   $0.00   $0.00   $8,252,432.25

INT ON ESCROW
CREDIT           10/1/2017                                 $2.70        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $2.70    $0.00   $0.00   $0.00   $8,252,432.25

PAYMENT REC'D     9/1/2017     9/1/2017    9/6/2017    $79,201.76       0               ($9,253.46)   $35,571.15   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,252,432.25

INT ON ESCROW
CREDIT            9/1/2017                                 $7.13        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $7.13    $0.00   $0.00   $0.00   $8,261,685.71

INT ON ESCROW
CREDIT            9/1/2017                                 $2.48        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $2.48    $0.00   $0.00   $0.00   $8,261,685.71

PAYMENT REC'D     8/1/2017     8/1/2017    8/6/2017    $79,201.76       0               ($9,213.79)   $35,610.82   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,261,685.71

INT ON ESCROW
CREDIT            8/1/2017                                 $7.13        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $7.13    $0.00   $0.00   $0.00   $8,270,899.50

INT ON ESCROW
CREDIT            8/1/2017                                 $2.15        0                    $0.00        $0.00    $0.00         $0.00           $0.00        $2.15    $0.00   $0.00   $0.00   $8,270,899.50

PAYMENT REC'D     7/3/2017     7/3/2017    7/6/2017    $79,201.76       0              ($10,319.53)   $34,505.08   $0.00    $14,416.67       $8,918.94    $11,041.54   $0.00   $0.00   $0.00   $8,270,899.50
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INT ON ESCROW
CREDIT            7/1/2017                                $6.90     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $6.90    $0.00   $0.00   $0.00   $8,281,219.03

INT ON ESCROW
CREDIT            7/1/2017                                $1.80     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $1.80    $0.00   $0.00   $0.00   $8,281,219.03

PAYMENT REC'D     6/1/2017   6/1/2017    6/6/2017    $79,201.76     0               ($9,130.05)   $35,694.56   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,281,219.03

INT ON ESCROW
CREDIT            6/1/2017                                $7.13     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $7.13    $0.00   $0.00   $0.00   $8,290,349.08

INT ON ESCROW
CREDIT            6/1/2017                                $1.86     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $1.86    $0.00   $0.00   $0.00   $8,290,349.08

PAYMENT REC'D     5/1/2017   5/1/2017    5/6/2017    $79,201.76     0              ($10,238.83)   $34,585.78   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,290,349.08

INT ON ESCROW
CREDIT            5/1/2017                                $6.90     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $6.90    $0.00   $0.00   $0.00   $8,300,587.91

INT ON ESCROW
CREDIT            5/1/2017                                $1.48     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $1.48    $0.00   $0.00   $0.00   $8,300,587.91

PAYMENT REC'D     4/3/2017   4/3/2017    4/6/2017    $79,201.76     0               ($9,047.02)   $35,777.59   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,300,587.91

INT ON ESCROW
CREDIT            4/1/2017                                $7.13     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $7.13    $0.00   $0.00   $0.00   $8,309,634.93

INT ON ESCROW
CREDIT            4/1/2017                                $1.24     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $1.24    $0.00   $0.00   $0.00   $8,309,634.93

PAYMENT REC'D     3/1/2017   3/1/2017    3/6/2017    $79,201.76     0              ($12,460.90)   $32,363.71   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,309,634.93

INT ON ESCROW
CREDIT            3/1/2017                                $6.44     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $6.44    $0.00   $0.00   $0.00   $8,322,095.83

INT ON ESCROW
CREDIT            3/1/2017                                $0.84     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $0.84    $0.00   $0.00   $0.00   $8,322,095.83

PAYMENT REC'D     2/1/2017   2/1/2017    2/6/2017    $79,201.76     0               ($8,954.81)   $35,869.80   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,322,095.83

INT ON ESCROW
CREDIT            2/1/2017                                $7.13     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $7.13    $0.00   $0.00   $0.00   $8,331,050.64

INT ON ESCROW
CREDIT            2/1/2017                                $0.60     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $0.60    $0.00   $0.00   $0.00   $8,331,050.64

R.E. TAX                                                              TX, HARRIS
DISBURSEMENT      1/9/2017              1/31/2017    $68,807.63     0 COUNTY             $0.00        $0.00    $0.00    ($68,807.63)      $0.00        $0.00    $0.00   $0.00   $0.00   $8,331,050.64   1297070010003

PAYMENT REC'D     1/3/2017   1/3/2017    1/6/2017    $79,201.76     0               ($8,916.42)   $35,908.19   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,331,050.64

INT ON ESCROW
CREDIT            1/1/2017                                $7.13     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $7.13    $0.00   $0.00   $0.00   $8,339,967.06

INT ON ESCROW
CREDIT            1/1/2017                                $0.27     0                    $0.00        $0.00    $0.00          $0.00       $0.00        $0.27    $0.00   $0.00   $0.00   $8,339,967.06

R.E. TAX                                                              TX, CLEAR
DISBURSEMENT    12/29/2016              1/31/2017   $104,743.69     0 CREEK ISD          $0.00        $0.00    $0.00   ($104,743.69)      $0.00        $0.00    $0.00   $0.00   $0.00   $8,339,967.06   1297070010003

PAYMENT REC'D    12/5/2016   12/5/2016 12/6/2016     $79,201.76   4985             ($10,032.94)   $34,791.67   $0.00     $14,416.67    $8,918.94   $11,041.54   $0.00   $0.00   $0.00   $8,339,967.06
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INT ON ESCROW
CREDIT            12/1/2016                                 $2.99    0          $0.00        $0.00    $0.00         $0.00       $0.00          $2.99   $0.00   $0.00   $0.00   $8,350,000.00
RESERVE
PAYMENT          11/18/2016   11/18/2016              $279,500.00    0          $0.00        $0.00    $0.00         $0.00       $0.00    $279,500.00   $0.00   $0.00   $0.00   $8,350,000.00

INS ESCROW PMT   11/18/2016   11/18/2016               $18,729.77    0          $0.00        $0.00    $0.00         $0.00   $18,729.77         $0.00   $0.00   $0.00   $0.00   $8,350,000.00

RE TAX ESCROW
PAYMENT          11/18/2016   11/18/2016              $166,512.54    0          $0.00        $0.00    $0.00   $166,512.54       $0.00          $0.00   $0.00   $0.00   $0.00   $8,350,000.00

PAYMENT REC'D    11/18/2016   11/18/2016 11/6/2016     $24,354.17    0          $0.00    $24,354.17   $0.00         $0.00       $0.00          $0.00   $0.00   $0.00   $0.00   $8,350,000.00
NEW LOAN         11/17/2016                          $8,350,000.00   0   $8,350,000.00       $0.00    $0.00         $0.00       $0.00          $0.00   $0.00   $0.00   $0.00   $8,350,000.00
